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           EXHIBIT A
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         Attorneys for Defendant
  14     GOOGLE INC.

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  16                                 UNITED STATES DISTRICT COURT

  17                                NORTHERN DISTRICT OF CALIFORNIA

  18                                    SAN FRANCISCO DIVISION

  19     ORACLE AMERICA, INC.,                        Case No. 3:10-cv-03561-WHA

  20                   Plaintiff,                     DECLARATION OF ROBERT VAN
                                                      NEST IN SUPPORT OF GOOGLE
  21            v.                                    INC.’S OPPOSITION TO ORACLE
                                                      AMERICA, INC.’S MOTION TO
  22     GOOGLE INC.,                                 EXCLUDE EVIDENCE REGARDING
                                                      LICENSE, IMPLIED LICENSE, AND
  23                   Defendant.                     EQUITABLE ESTOPPEL DEFENSES

  24                                                  Dept.:    Courtroom 8, 19th Floor
                                                      Judge:    Hon. William Alsup
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                               DECLARATION OF ROBERT VAN NEST IN SUPPORT OF
                                 GOOGLE’S OPPOSITION TO MOTION TO STRIKE
                                         Case No. 3:10-cv-03561-WHA
649406
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   1     I, ROBERT VAN NEST, declare as follows:
   2            1.      I am a partner with the law firm of Keker & Van Nest LLP, counsel to Google
   3     Inc. (“Google”) in the present case. I submit this declaration in support of Google’s Opposition
   4     to Oracle America, Inc.’s (“Oracle”) Motion to Exclude Evidence Regarding License, Implied
   5     License, and Equitable Estoppel Defenses (“Motion”). I have knowledge of the facts set forth
   6     herein, and if called to testify as a witness thereto could do so competently under oath.
   7            2.      On April 15, 2012, starting at approximately 1:00 pm, Bruce Baber and I met and
   8     conferred with Michael Jacobs, counsel for Oracle, by telephone regarding the parties’ opening
   9     statement presentations, which we had exchanged the day before. Daniel Muino, counsel for
  10     Oracle, may also have been in attendance for some or all of the call.
  11            3.      During our call, Mr. Jacobs stated that Oracle had “in the works” a motion in
  12     limine attacking Google’s equitable defenses, and that Oracle “might” file the motion if Oracle
  13     had the motion ready in time.
  14            4.      Mr. Jacobs did not identify which equitable defenses Oracle might attack or the
  15     relief that Oracle would seek in the motion.
  16            5.      Mr. Jacobs did not identify the basis for any motion, other than referencing
  17     Google’s interrogatory answers and objecting to Google’s inclusion in its opening presentation
  18     of excerpts from an official Sun Microsystems blog authored by its then Chief Executive Officer,
  19     Jonathan Schwartz (TX 2352). Among other things, that blog post congratulates Google on its
  20     announcement of Android, and says that “Google and the Open Handset Alliance just strapped
  21     another set of rockets to the [Java] community’s momentum.”
  22            6.      Oracle did not provide written notice, prior to 3:00 pm, of its intent to file its
  23     Motion, as required by Paragraph 3 of Court’s Order Regarding Trial Procedures (Dkt. No. 890).
  24            7.      Shortly after 6:00 pm on April 15, 2012, I received notice via the Court’s ECF
  25     system that Oracle filed its Motion. The notice states, “The following transaction was entered by
  26     Jacobs, Michael on 4/15/2012 at 6:01 PM and filed on 4/15/2012.”
  27            8.      At 6:54 pm, Daniel Muino wrote to state Oracle’s belief that that my conversation
  28                                                   1
                               DECLARATION OF ROBERT VAN NEST IN SUPPORT OF
                                 GOOGLE’S OPPOSITION TO MOTION TO STRIKE
                                         Case No. 3:10-cv-03561-WHA
649406
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   1     with Mr. Jacobs “suffices” as written notice in accordance with the Court’s Order. A copy of
   2     Mr. Muino’s email is attached to Google’s opposition brief as Exhibit B.
   3            I declare under penalty of perjury that the foregoing is true and correct and that this
   4     declaration was executed at San Francisco, California on April 15, 2012.
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   6                                                   By:    /s/ Robert Van Nest
                                                              ROBERT A. VAN NEST
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                               DECLARATION OF ROBERT VAN NEST IN SUPPORT OF
                                 GOOGLE’S OPPOSITION TO MOTION TO STRIKE
                                         Case No. 3:10-cv-03561-WHA
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